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                                IN THE UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF TEXAS
                                           TYLER DIVISION



 THE DAILY WIRE, LLC, ET AL.,
             PLAINTIFFS,
 V.                                                            CASE NO. 6:23-CV-00609-JDK
 DEPARTMENT OF STATE, ET AL.,
             DEFENDANTS.



                                              ORDER

       On this day, the Court considered Plaintiffs’ Unopposed Motion for Leave to Serve

Subpoenas. After considering the Motion for Leave, the Court finds it should be granted.

       IT IS THEREFORE ORDERED that Plaintiffs’ Unopposed Motion for Leave to Serve

Subpoenas is GRANTED and Plaintiffs may serve two additional preliminary-injunction related

subpoenas.

       So ORDERED and SIGNED this 12th day of September, 2024.



                                                 ___________________________________
                                                 JEREMY D. KERNODLE
                                                 UNITED STATES DISTRICT JUDGE
